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 8                                 UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10
       IN RE: SOCIAL MEDIA ADOLESCENT                     Case No. 4:22-MD-03047-YGR
11     ADDICTION/PERSONAL INJURY
       PRODUCTS LIABILITY LITIGATION                      MDL No. 3047
12

13                                                        [PROPOSED] ORDER GRANTING
                                                          PLAINTIFFS’ EIGHTH
14     This Document Relates to:                          CONSOLIDATED EX PARTE
                                                          APPLICATION AND APPOINTING
15     K.O. and J.O., individually and as next of         GUARDIANS AD LITEM
       friend to minor D.O. v. Meta Platforms, Inc.,
16     et al., 4:23-cv-04255
17     K.P., individually and as next of friend to
       minor S.P. v. Meta Platforms, Inc., et al.,
18     4:23-cv-05794
19     I.T. individually and as next of friend to
       minor, A.P. v. Meta Platforms, Inc., et al.,
20
       4:23-cv-03292
21                                          [PROPOSED] ORDER
22           The Court is in receipt of Plaintiffs’ Eighth Ex Parte Application for Appointment of
23    Guardians Ad Litem (hereinafter, “Eighth Ex Parte Application”).
24           Pursuant to this Court’ Order Regarding Appointment of Guardians Ad Litem (ECF No.
25    122), Ex Parte Applications for Appointment of Guardians Ad Litem (“Applications”) submitted
26    by parents and/or legal guardians were deemed presumptively approved upon filing because there
27    was no apparent conflict between the applicants’ parental responsibility and their obligation to
28    assist the Court in “achieving a just and speedy determination of the action.” ECF No. 122 ¶ 4
                                                   1               Case No. 4:22-MD-03047-YGR
        [Proposed] Order Granting Eighth Ex Parte Application and Appointing Guardians Ad Litem
     Case 4:22-md-03047-YGR              Document 641-3         Filed 02/23/24      Page 2 of 2



 1    (citing J.M. v. Liberty Union High Sch. Dist., No. 16-cv-05225-LB, 2016 WL 4942999, at *1

 2    (N.D. Cal. Sept.16, 2016)).

 3              On February 23, 2024, Applications were submitted by the parents and/or legal guardians

 4    to serve as guardians ad litem for the individual minor plaintiffs in the following cases:

 5          •   K.O. and J.O., individually and as next of friend to minor D.C. v. Meta Platforms, Inc., et

 6              al., 4:23-cv-04255 (Exhibit 1);

 7          •   K.P., individually and as next of friend to minor S.P. v. Meta Platforms, Inc., et al., 4:23-

 8              cv-05794 (Exhibit 2); and

 9          •   I.T. individually and as next of friend to minor, A.P. v. Meta Platforms, Inc., et al., 4:23-

10              cv-03292 (Exhibit 3).

11              Pursuant to this Court’s Order Regarding Appointments of Guardian Ad Litem, the

12    Court’s presumptive approval of these Applications will become final if no objections are filed

13    within fifteen (15) days of the filing of Plaintiffs’ Eighth Ex Parte Application. ECF No.122 ¶5.

14              Having received no objections on or before March 11, 2024, which is fifteen (15) days

15    after the filing of Plaintiffs’ Eighth Ex Parte Application 1, and good cause appearing, it is hereby

16    ordered that that the applicants identified in the Applications for the cases listed above are

17    appointed as guardians ad litem for the minor plaintiffs in those actions for the purposes of this

18    litigation until the minor reaches the age of majority.

19              IT IS SO ORDERED.

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          Dated: _____________
21                                                Hon. Yvonne Gonzalez Rogers
                                                  UNITED STATES DISTRICT JUDGE
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28     The fifteenth (15) day after the filing of Plaintiffs’ Eighth Ex Parte Application was Saturday,
      March 9, 2024, such that the deadline to object was the next court day, March 11, 2024.
                                                          2               Case No. 4:22-MD-03047-YGR
        [Proposed] Order Granting Eighth Ex Parte Application and Appointing Guardians Ad Litem
